Case 23-40709 Doc 70-25 Filed 01/16/24 Entered 01/16/24 13:03:39 Desc Exhibit
          Y - Waiver of Notice and Consent to Conservatorship Page 1 of 3




                           Exhibit Y
Case 23-40709 Doc 70-25 Filed 01/16/24 Entered 01/16/24 13:03:39 Desc Exhibit
          Y - Waiver of Notice and Consent to Conservatorship Page 2 of 3




  CADES SCHUTTE
  A Limited Liability Law Partnership

  RHONDA L. GRISWOLD              3679-0
  SUMMER G. SHELVERTON            9799-0
  DANIEL C. VERMILLION           10568-0
  POHAINU-1/111WA CAMPBELL 10433-0
  1000 Bishop Street. Suite 1200
  Honolulu, HI 96813
  Telephone: (808) 521-9200

  Attorneys for Petitioner
  PETER BLAUSTEIN

                              IN THE CIRCUIT COURT OF THE THIRD CIRCUIT

                                               STATE OF HAWAII

  IN THE MATTER OF THE                                       CG. NO. 19-1-002K
  CONSERVATORSHIP AND                                        (Conservator and Guardian of Adult)
  GUARDIANSHIP
                                                             WAIVER OF NOTICE AND
           OF                                                CONSENT TO CONSERVATORSHIP
  FRANCES JAN BLAUSTEIN SCHOLES,                             DATE: June 3. 2019
  also kn0Wn as JAN BLAUSTEIN                                TIME: 9:320 a.m.
  SCHOLES.,                                                  JUDGE: The Hon. Robert D.S. Kiln
                                Respondent.



                                       WAIVER OF NOTICE AND
                                    CONSENT TO CONSERVATORSHIP

                     I acknowledge receipt of filed copies of the Petition requesting the appointment of

  my son, PETER. L. BLAUSTEIN, as my Conservator and Guardian, and the Notice of Hearing in

  this action.

                          consent to the conservatorship and guardianship, the appointment of the

  proposed Conservator and Guardian, and waive the requirement that I receive notice of the

  hearing at least fourteen days before the hearing on the Petition.


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          Y - Waiver of Notice and Consent to Conservatorship Page 3 of 3




                    Also,

                            I do not want to be notified of any further hearings and understand that the
                            Court may grant the Petition without further notice to me.

                            I want to be notified of all future hearings but do not require that I be
                            given at least fourteen days advance notice.


                    DATED: Kamuela, Hawaii.                            /t i                         2019.
                                                                              (Date)



                                           Print Name: FRANCES JAN 13LAUSTE1N SCHOLES
                                           Address:    68-1122 N. Kaniku Drive. No. 103
                                                       Kanmela, HI 96743




  WAIVER OF NOTICE AND CONSENT TO CONSERVATORSHIP. In The Matter of The
  Conservatorship and Guardianship of FRANCES JAN BLAUSTEIN SCHOLES, also known as
  JAN BLAUSTEIN. SCHOLES, Respondent. CG. No. 19-1-002K


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